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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8    UNITED STATES OF AMERICA,
 9                                                       CASE NO. CR02-17 RSM

10            Plaintiff,                                PROPOSED FINDINGS OF
11                                                      FACT AND DETERMINATION
                 v.                                     OF VIOLATIONS OF SUPERVISED
12                                                      RELEASE AND ORDER OF
      KAMAU CURNAL,                                   DETENTION
13
              Defendant.
14
15
16                                         INTRODUCTION

17        I conducted a hearing on alleged violations of supervised release in this case on December 5,

18   2005. The United States was represented by Ron Friedman. The defendant was represented by

19   Thomas Campbell. The proceedings were recorded on disk.

20
21                                 CONVICTION AND SENTENCE

22        Defendant had been convicted of Conspiracy to Distribute MDMA(Ecstacy) on or about

23   October 25, 2005. The Hon. Ricardo S. Martinez of this court sentenced Defendant to 30 months

24   of confinement, followed by 3 years of supervised release.

25        The conditions of supervised release included requirements that defendant comply with the

26   standard 13 conditions.

27                                   DEFENDANT'S ADMISSION

28        USPO Michael Larsen alleged that Defendant violated the conditions of supervised release

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 1   in two respects:
 2         (1)    Using marijuana on or before August 2, 2005; August 3, 2005; August 9, 2005;
 3                September 29, 2005; October 11, 2005 and October 13, 2005, in violation of standard
 4                condition number seven.
 5         (2)    Failing to report for drug testing as instructed on August 23, 2005, in violation of
 6                supervised release requiring participation, as instructed by the probation officer, in a
 7                program approved by the probation office for treatment of narcotic addition, drug
 8                dependency or substance abuse, which may include testing to determine if the
 9                defendant has reverted back to drugs or alcohol.
10   At an initial hearing, I advised the defendant of these charges and of his constitutional rights. At
11   today’s hearing Defendant admitted the violations numbered one and two, waived any hearing as
12   to whether it occurred, and consented to having the matter set for a disposition hearing before the
13   Hon. Ricardo S. Martinez
14                       RECOMMENDED FINDINGS AND CONCLUSIONS
15         Based upon the foregoing, I recommend the court find that Defendant has violated the
16   conditions of his supervised release as alleged and set the matter for a disposition hearing.
17         Defendant has been detained pending a final determination by the court.
18         DATED this 5th day of December, 2005.
19
20
21                                                        A
                                                          MONICA J. BENTON
22                                                        United States Magistrate Judge
23
24
25
     cc:   Sentencing Judge               :       Hon. Ricardo S. Martinez
26         Assistant U.S. Attorney        :       Ron Friedman
           Defense Attorney               :       Michael Larsen
27         U. S. Probation Officer        :       Michael Larsen

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